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                                 UNITED STATES DISTRICT COURT
                                   District of Minnesota


                                                                         JUDGMENT IN A CIVIL CASE


     Samuel Gaygbou Zean,
                                   Plaintiff(s),
                                                                          Case No. 19-cv-2958 NEB/TNL
v.




     Efinancial, LLC, SelectQuote Insurance
     Services, Burialexpense.com,
     InsideResponse, LLC, Tiburon Insurance
     Services, Allied Insurance Partners




                      Defendants




       ☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
          and the jury has rendered its verdict.

       ☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
         been tried or heard and a decision has been rendered.

              IT IS ORDERED AND ADJUDGED THAT:
              1. Zean’s Motion for Summary Judgment (ECF No. 95) is DENIED; and
              2. Defendants’ Motion for Summary Judgment (ECF No. 111) is GRANTED.



           Date: 1/18/2022                                        KATE M. FOGARTY, CLERK
